       Case 1:20-cv-02662-WMR Document 1 Filed 06/24/20 Page 1 of 18




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

GLENN HOWELL,                      )
                                   )
      Plaintiff,                   )
                                   )    CIVIL ACTION
             v.                    )
                                   )    FILE NO ________________
                                   )
                                   )    JURY TRIAL DEMANDED
CLAYTON COUNTY SHERIFF             )
VICTOR HILL, in his official and   )
individual capacities,             )
                                   )
      Defendant.                   )
_________________________________________________________________

                       COMPLAINT FOR DAMAGES

       NOW COMES, GLENN HOWELL, Plaintiff herein, and hereby submits

this his Complaint for Damages, by and through counsel, against the above-named

Defendant on the following grounds:

                        JURISDICTION AND VENUE
                                       1.
      This Court has jurisdiction over the matter pursuant to 28 U.S.C. § 1331 and

1343. This Court has supplemental jurisdiction over Plaintiff’s state law claim

pursuant to 28 U.S.C. § 1367.




                                        1
        Case 1:20-cv-02662-WMR Document 1 Filed 06/24/20 Page 2 of 18




                                           2.

      Venue in this district and division is proper under 28 U.S.C. § 1391 as the

Defendant is located in the Northern District of Georgia, Atlanta Division, and the

conduct complained of herein occurred in Clayton County [hereinafter “County”],

Georgia and therefore within this district and division.

                                      PARTIES


                                           3.
      Plaintiff [hereinafter “Howell”] is now and was at the time of all occurrences

described herein, a resident of Butts County, Georgia, and at all times relevant

hereto was a citizen of the United States of America entitled to all of the rights,

privileges and appurtenances thereto.

                                           4.

      Howell shows that at all times relevant hereto, that the Defendant

[hereinafter “Sheriff Hill”], was the Sheriff of Clayton County, Georgia and that

Sheriff Hill is subject to the venue and jurisdiction of this court. Sheriff Hill is sued

in both his official capacity as a constitutional officer and in his individual

capacity. He may be personally served with the Complaint and Summons at the

Clayton County Sheriff’s Office, 9157 Tara Boulevard, Jonesboro, Georgia 30236.




                                           2
       Case 1:20-cv-02662-WMR Document 1 Filed 06/24/20 Page 3 of 18




                             NATURE OF ACTION

                                          5.

      Howell asserts his claims under 42 U.S.C. §§ 1983 and 1988 to recover for

personal injuries and economic damages suffered while incarcerated as a pretrial

detainee in the County Jail wherein he was, at the express direction of Sheriff Hill,

strapped to a restraint chair for approximately six (6) hours and then placed in a

suicide cell wearing only a paper gown for approximately eight (8) hours solely for

the purpose of punishment, and without serving any legitimate non-punitive

governmental objective.

                                          6.

      Sheriff Hill’s actions have deprived Howell of his paramount rights and

guarantees provided under the Fourteenth Amendment of the United States

Constitution and the laws of the State of Georgia.

                                          7.

      Howell also files this Complaint for Damages to collect punitive damages

from Sheriff Hill because he can prove by clear and convincing evidence that

Sheriff Hill’s actions show willful misconduct, malice, fraud, wantonness,

oppression, or that entire want of care which would raise the presumption of

conscious indifference to consequences.


                                          3
       Case 1:20-cv-02662-WMR Document 1 Filed 06/24/20 Page 4 of 18




                                         8.


      Each and every act of Sheriff Hill alleged herein was committed by Sheriff

Hill, each and every one of them, under the color of state law and within the scope

of his discretionary functions when he chose to order, authorize and institute the

punitive restraint of Howell.


                                         9.


      At all times relevant to this action, Sheriff Hill was the elected County

Sheriff. Pursuant to his oath of office, Sheriff Hill swore to uphold and enforce the

Constitutions and laws of the United States and the State of Georgia within the

County.


                                        10.


      Howell asserts claims against Sheriff Hill, individually and in his official

capacity as an independent, constitutional, elected official acting neither as an arm

of the State of Georgia nor the County. In his official capacity as an independent,

constitutional, elected official, Sheriff Hill’s actions, as alleged herein, were not

subject to review by either the State of Georgia or the County Board of

Commissioners as Sheriff Hill was the final policy maker on behalf of the



                                         4
        Case 1:20-cv-02662-WMR Document 1 Filed 06/24/20 Page 5 of 18




independent, constitutional and elected office of Sheriff for the County at all time

relevant to this action.

                           FACTUAL ALLEGATIONS

                                         11.

      Howell owns and operates a landscaping business. On or about March 25,

2020, Josh Guthrie, a Lieutenant employed by Sheriff Hill, contacted Howell to

inquire about landscaping the front and back yard of his home located in Butts

County, Georgia at 752 Hillcrest Drive, Jackson, Georgia 30233. The two agreed

to terms shortly thereafter. Howell arrived with his tractor on Friday, April 17,

2020 and began working on Lt. Guthrie’s yard.

                                         12.

       After having completed significant portion of the job on April 17, 2020, a

dispute arose between Lt. Guthrie and Howell regarding the coordination of work

to be performed by a separate contractor hired by Lt. Guthrie. At such time,

Howell was ordered to cease work, leave his property and to not return. Howell did

as requested but could not complete the job as a result.

                                         13.

      Mr. Guthrie messaged Howell the following day stating Howell would need

a police escort to obtain certain tools that Howell had left at the property. The two


                                          5
       Case 1:20-cv-02662-WMR Document 1 Filed 06/24/20 Page 6 of 18




then exchanged a series of text messages on April 18th and 19th including a

message from Lt. Guthrie threatening to obtain arrest warrants against Howell and

a response from Howell stating that he would be filing a lawsuit against Lt. Guthrie

in civil court for non-payment.

                                         14.

      At 8:38 p.m. on April 23, 2020, Howell received a text message from Lt.

Guthrie warning of legal action if Howell was at or near his house again. Howell

quickly responded “what are you talking about” and advised that he had a contract

with the homeowner across the street.



                                         15.

      At 9:02 p.m. on April 23, 2020, Howell answered an incoming call on his

cell phone from an unfamiliar number, (404) 548-0552, now known to be Sheriff

Hill’s personal cell phone. When the caller identified himself as Sheriff Victor

Hill and threatened Howell with arrest if there was any further contact with Lt.

Guthrie to pursue the debt owed or otherwise, Howell was in disbelief and

skeptical that the caller was in fact Sheriff Hill.   Howell had never met Sheriff

Hill, did know Sheriff Hill, and had never spoken with Sheriff Hill. During the

call, which lasted less than five (5) minutes, Howell expressed his disbelief and


                                          6
       Case 1:20-cv-02662-WMR Document 1 Filed 06/24/20 Page 7 of 18




used profanities towards Sheriff Hill. (See statement of April 23, 2020 call history

for Howell’s Sprint cell phone attached hereto as Exhibit A).

                                        16.

      At the conclusion of the phone call, Howell contacted (404) 548-0552 via

Facetime on his iphone in a further attempt to confirm the identity of the caller as

Sheriff Hill. Sheriff Hill answered Howell’s Facetime call on the second or third

attempt wearing a face mask that covered the bottom half of his face. Sheriff Hill

repeatedly refused Howell’s request that he remove his mask to expose his face.

Furthermore, Sheriff Hill refused to show Howell proof of his identity such as his

license or law enforcement badge. When Sheriff Hill then abruptly ended the

Facetime call, Howell made a few more Facetime attempts to (404) 548-0552

immediately thereafter on the night of April 23, 2020.

                                        17.

      Contemporaneous with Howell’s Facetime attempts on the night of April 23,

2020, Howell received the following text message from (404) 548-0552:

      “This is your only and formal warning in writing not to call me or face time
      me again. If you text or call me one more time I will have you arrested for
      harassing communications. Also you will be served with a TPO for
      harassing my Lieutenant. Do not go near his house again, or you will be
      arrested for stalking.”




                                         7
       Case 1:20-cv-02662-WMR Document 1 Filed 06/24/20 Page 8 of 18




      Still seeking confirmation that the individual sending the message was

Sheriff Hill, Howell responded “So this is Victor Hill correct.” Sheriff Hill sent the

following message instead of confirming his identity as requested:

      “This is your second warning in writing to stop and not to call me or face
      time me again.”

      (See screenshot of texts from Sheriff Hill attached hereto as Exhibit B).

                                         18.

      The following morning, April 24, 2020, at 8:06 a.m., an arrest warrant was

obtained from a Clayton County Magistrate Court Judge against Howell based on

the false and misleading affidavit of Sheriff Hill’s employee, Logan Edward Smith,

for the misdemeanor offense of Harassing Communications under O.C.G.A. § 16-

11-39.1. The affidavit falsely states that “said accused did contact Victor Hill

repeatedly via phone call for the purpose of harassing Victor Hill by calling Victor

Hill approximately five times after being asked to stop.” (See State Warrant with

incorporated Affidavit attached hereto as Exhibit C).

                                         19.

      The affidavit omits significant facts which would have prevented a finding

of probable cause including but not limited to: (i) Sheriff Hill initiating contact

with Howell on his personal cell phone at 9 p.m.; (ii) Sheriff Hill attempting to

dissuade Howell, via threat of arrest, from pursuing a civil claim against Lt.

                                          8
        Case 1:20-cv-02662-WMR Document 1 Filed 06/24/20 Page 9 of 18




Guthrie; (iii) the Facetime call between Howell and Sheriff Hill and the substance

thereof; (iv) Howell’s text message and other attempts to confirm the identify of

Sheriff Hill; (v) or that Howell had used profanity against, and otherwise insulted,

Sheriff Hill during their phone call.

                                        20.

      At 1:26 p.m. on April 24, 2020, Sheriff Hill identified himself for the first

time in writing and notified Howell of the arrest warrant with the following

message:

      “Mr. Howell this is Sheriff Victor Hill. We have a warrant for your arrest.
      Would you like to turn yourself in, or have my Deputies come find you?”


      Howell did not respond to Sheriff Hill’s text but instead contacted an

attorney that day to schedule an appointment to discuss the matter and turning

himself in. Sheriff Hill again texted Howell the following message the next day,

April 25, 2020:

      “My Deputies are actively looking for you. We have not and will not agree
      for you to turn yourself in when you want to. Turn yourself in today.”




      (See screenshot of texts from Sheriff Hill attached hereto as Exhibit B). Over

a two-day period thereafter, Sheriff Hill’s heavily armed Fugitive Squad visited


                                         9
       Case 1:20-cv-02662-WMR Document 1 Filed 06/24/20 Page 10 of 18




several locations in Butts County, Georgia searching for Howell without first

notifying or requesting the assistance of the Butts County Sheriff’s Office.

                                         21.

      Having met with his criminal defense counsel and made arrangements for

the posting of bond, Howell voluntarily surrendered himself to the Clayton County

Jail at about 7:30 p.m. on April 27, 2020. Shortly after entering the booking area, a

member of the jail’s tactical team entered and said “yeahhhh, we’ve been waiting

on you.”

                                         22.

      At around 8 p.m., Howell was placed in a holding cell very close to the

booking area without having been assigned a cell, provided a jail jumpsuit, or

otherwise completing the booking process. A short time later, Howell heard a

jailer yell “Sheriff on deck” as Sheriff Hill arrived to his cell along with members

of the jail’s tactical team. As the door to the cell opened, a tactical team member

told Howell to step outside and to “face the Sheriff.” Sheriff Hill immediately got

in Howell’s face and said “do I look like a motherfucker now?” After being

berated and taunted by Sheriff Hill and his team, Howell was strapped into a

restraint chair and placed into a suicide cell where he remained for approximately

six hours.


                                         10
          Case 1:20-cv-02662-WMR Document 1 Filed 06/24/20 Page 11 of 18




                                        23.

          Despite being fully compliant and exhibiting no behavior which would

justify the use of restraints whatsoever, Howell’s wrist restraints were cinched so

tight that both his hands went numb and he was left with small wounds on both

wrists. He is currently treating with an Orthopedic for injuries to his wrists with

ongoing pain, numbness, loss of sensation and loss of function in his hands and

wrists.

                                        24.

      At about 3:30 a.m. on April 28, 2020, Howell was released from the restraint

chair and returned to the booking area where he removed his personal clothing,

took a shower and put on an orange jumpsuit as ordered. He was then placed in a

booking cell until about 4:30 a.m.        At such time without justification or

explanation, Howell was ordered to strip naked by removing his orange jumpsuit,

underwear, tee shirt, socks and sandals and to put on a paper suicide gown.

                                        25.

      Dressed in only a paper suicide gown, Howell was returned to the suicide

watch area and placed in an exceptionally cold suicide cell with five other men

where he remained until just before his first appearance in the Clayton County

Magistrate Court at 1 p.m. on April 28, 2020. Like the gowns of the other men in


                                        11
       Case 1:20-cv-02662-WMR Document 1 Filed 06/24/20 Page 12 of 18




the cell, Howell’s gown soon tore and otherwise fell apart such that his private

parts were exposed.

                                        26.

      Upon having a bond set and returning from his first appearance, Howell was

housed in the unit of the jail designated for convicted felony prisoners awaiting

placement with the Georgia Department of Corrections. Sheriff Hill again

personally visited Howell at about 4:30 p.m. on April 28, 2020 to make sure that

there “would not be any problems with you [Howell] going forward.” Howell was

respectful, as he had been throughout his brief incarceration, and assured Sheriff

Hill that there would be no problems.

                                        27.

      Howell posted bond and was released on the night of April 28, 2020. His

criminal prosecution, instituted by Defendant Hill, for Harassing Communications

under O.C.G.A. § 16-11-39.1 is pending in the State Court of Clayton County,

Georgia.



                                        28.

      Sheriff Hill has a custom and practice of using the restraint chair without a

rational justification related to maintaining institutional security or preserving


                                        12
       Case 1:20-cv-02662-WMR Document 1 Filed 06/24/20 Page 13 of 18




internal order and discipline. Moreover, Sheriff Hill’s custom and practice is to use

the restraint chair to punish inmates with whom he has personal grievances.

                                        29.

       As a consequence of Defendant’s misconduct, Plaintiff has suffered

substantial mental and emotional distress.

                                        30.

       As a consequence of Defendant’s misconduct, Plaintiff has suffered physical

injuries.

                                        31.

       Defendant’s cruel and unusual conduct was carried out willfully,

deliberately, sadistically, maliciously and in conscious disregard for Plaintiff’s

federally protected rights under the Fourteenth Amendment to the United States

Constitution.

                           SUBSTANTIVE ALLEGATIONS


     COUNT ONE: EXCESSIVE FORCE IN VIOLATION OF THE
   FOURTEENTH AMENDMENT’S DUE PROCESS CLAUSE TO THE
  UNITED STATES CONSTITUTION ENFORCED VIA 42 U.S.C. § 1983.
                                        32.

       Plaintiff re-alleges and incorporates herein the allegations contained in

paragraphs 1 through 31 above as if fully restated.


                                         13
       Case 1:20-cv-02662-WMR Document 1 Filed 06/24/20 Page 14 of 18




                                         33.

      Defendant ordered that an arrest warrant be sworn out against Plaintiff for

Harassing Communications under O.C.G.A. § 16-11-39.1 following a contentious

phone call initiated by Defendant to Plaintiff’s cell phone wherein Defendant

attempted to dissuade Plaintiff from pursuing a civil remedy against his deputy and

refused to provide Plaintiff proof of his identity as requested. Defendant then sent

his heavily armed fugitive squad two counties over for two days in search of

Plaintiff on a misdemeanor warrant.

                                         34.

      Upon surrendering himself as a misdemeanor pretrial detainee to the Clayton

County Jail, Plaintiff was personally visited by Sheriff Hill who berated him,

ordered him to the restraint chair and then to a suicide cell, all without any rational

justification related to a legitimate non-punitive governmental purpose.

                                         35.

      At no time during his incarceration did Plaintiff make any statements,

exhibit any behavior, or take any action that would indicate he was a threat to

himself or others. Moreover, Plaintiff was fully compliant and did as ordered

during his entire incarceration.




                                          14
        Case 1:20-cv-02662-WMR Document 1 Filed 06/24/20 Page 15 of 18




                                         36.

       Defendant’s restraint and use of force against was wholly unnecessary,

objectively unreasonable, and served no legitimate non-punitive governmental

purpose.

                                         37.

        Defendant acted with actual malice and with the specific intent to injure

Plaintiff.

                                         38.

       Defendant was acting under the color of law and is liable for damages

arising from the punitive restraint and excessive force used against Plaintiff.

      COUNT TWO: INTENTIONAL INFLICTION OF EMOTIONAL
                         DISTRESS

                                         39.

       Plaintiff re-alleges and incorporates herein the allegations contained in

paragraphs 1 through 38 above as if fully restated.

                                         40.

       Defendant’s conduct as outlined above was outrageous, is deplorable and

goes well beyond that tolerated in a civilized society.




                                          15
       Case 1:20-cv-02662-WMR Document 1 Filed 06/24/20 Page 16 of 18




                                         41.

      Plaintiff has suffered emotional distress including, but not limited to, fear,

anger, shame, humiliation, embarrassment, and worry as a result of Defendant’s

actions.

                                         42.

      Plaintiffs have suffered injuries and damages as a result of Defendant’s

outrageous conduct.

                      COUNT THREE: ATTORNEY’S FEES

                                         43.

      Plaintiff re-alleges and incorporates herein the allegations contained in

paragraphs 1 through 42 above as if fully restated.


                                         44.

      Pursuant to 42 U.S.C. § 1988 and O.C.G.A. § 13-6-11, Plaintiff is entitled to

an award of reasonable attorney’s fees and costs of litigation.


                           COUNT FOUR: DAMAGES

                                         45.

       Plaintiff re-alleges and incorporates herein the allegations contained in

paragraphs 1 through 44 above as if fully restated.


                                         16
       Case 1:20-cv-02662-WMR Document 1 Filed 06/24/20 Page 17 of 18




                                           46.

      As a result of Defendants’ conduct, Plaintiff has incurred loss of liberty,

shame, humiliation, along with other physical and mental pain and suffering and

will continue to suffer into the future.

                                           47.

      As a result of Defendants’ conduct, Plaintiff has incurred special damages in

an amount to be proven at trial.

                                           48.

      All of the Defendant’s actions complained of in this Complaint showed

actual malice, willful conduct, wantonness, oppression or the entire want of care

which raises the presumption of conscious indifference to consequences. His acts

were taken to harm Plaintiff and to deprive him of his constitutional rights.

                                           49.

      Plaintiff should be awarded actual damages as well as punitive damages in

an amount sufficient to deter, penalize, and punish Defendant in light of the

circumstances of this case.




                                           17
       Case 1:20-cv-02662-WMR Document 1 Filed 06/24/20 Page 18 of 18




WHEREFORE PLAINTIFF PRAYS:

(a) that Defendant be served with a copy of this Complaint and process as provided
by law;

(b) that Plaintiff recover of Defendant special and general damages as proven at
trial;

(c) that Plaintiff recover punitive damages against Defendant;

(d) that Plaintiff recover costs and reasonable attorney’s fees pursuant to 42 U.S.C.
§ 1983, 42 U.S.C. § 1988, and O.C.G.A. § 13-6-11;

(e) that Plaintiff have a trial by jury;

(f) that Plaintiff have such further relief as the Court may deem just and proper;

       DEMAND FOR JURY TRIAL
       Plaintiff requests trial by jury for all issues so triable.


                     Respectfully submitted this _24th _ day of June, 2020.

                                                  /s/ Darryl L. Scott__________
                                                  Darryl L. Scott
                                                  Georgia Bar No. 635479
                                                  Attorney for Plaintiff


Law Office of Darryl L. Scott, LLC
320 Corporate Center Court
Stockbridge, Georgia 30281
(770) 474-5646
Darryl@dscottlawoffice.com




                                             18
